        Case 2:21-cv-01248-ER           Document 24       Filed 02/01/22      Page 1 of 12




                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROY LEE WILLIAMS,                                :                    CIVIL ACTION
                                                 :
            Plaintiff,                           :
                                                 :
            v.                                   :
                                                 :
JOHN E. WETZEL,                                  :
                                                 :
         Defendant.                              :                    NO. 21-1248

             STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT
               OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant John Wetzel, Secretary of the Pennsylvania Department of Corrections (“DOC

or the “Department”), by and through counsel, submits the following statement of undisputed

material facts in support of his Motion for Summary Judgment:



Plaintiff’s Claims and Capital Case Housing Unit Conditions

       1.         On March 3, 2021, Plaintiff Roy Lee Williams, an inmate with the Pennsylvania

Department of Corrections, filed this lawsuit alleging that, due to his mental illness, the

restrictive conditions of the Capital Case Housing Unit (“CCU”) before December 3, 2019

violated his rights under the Eighth Amendment, Fourteenth Amendment, and Americans with

Disabilities Act (“ADA”). See Compl. (ECF No. 2). See also Deposition of Roy Lee Williams,

December 9, 2021, attached hereto as Exhibit A, Tr. at 12:12-13:1.

       2.         Plaintiff was convicted of murder and sentenced to death in or around 1992. See

Ex. A, Williams Dep. Tr. at 9:10-9:16; 11:4-11:6. Since his conviction, Plaintiff has filed various

appeals and forms of post-conviction relief seeking to overturn his conviction and/or relief from

his death sentence, none of which has been successful and he remains with an active capital
       Case 2:21-cv-01248-ER           Document 24        Filed 02/01/22      Page 2 of 12




sentence. See In re Williams, 782 Fed. Appx. 136 (3d Cir. 2019) (providing summary of

Plaintiff’s conviction and attempts at post-conviction relief), attached as Exhibit B hereto.

       3.      Plaintiff first started in custody with the Department around December 1993 at the

State Corrections Institution Graterford (“SCI-Graterford”) and then transferred to the State

Corrections Institution Greene (“SCI-Greene”) in July of 1996 or 1997, where he resided until he

transferred to SCI-Phoenix in July 2020, where he currently resides. See Ex. A, Williams Dep.

Tr. at 10:7-11:12.

       4.      During the time that Plaintiff resided at SCI-Graterford and SCI-Greene, he was

housed on the CCU. See Ex. A, Williams Dep. Tr. at 11:18-11:22; 13:2-13:8.

       5.      Prior to 2018, Plaintiff’s placement and treatment in the CCU were subject to the

conditions outlined in the Department’s policy concerning Capital Case Administration. See

DOC Policy No. 6.5.8, “Capital Case Administration” (hereafter, “Capital Case Policy”), dated

August 12, 2012, attached as Ex. 2 to Declaration of William Zakian, dated January 28, 2022,

attached as Exhibit C hereto.

       6.      On January 25, 2018, a class action lawsuit was filed in the United States District

Court for the Middle District of Pennsylvania on behalf of all capital case inmates in the

Department’s custody, alleging that the conditions of the CCU amounted to “solitary

confinement” and violated the 8th and 14th Amendments of the Constitution. See Reid, et al., v.

Wetzel, et al., 18-CV-0176 (M.D. Pa.).

       7.      On November 18, 2019, the Department and class counsel in the Reid case

executed a settlement agreement wherein the Department agreed to loosen the restrictions

conditions of the CCU and create a more socialization opportunities. See Reid, et al., v. Wetzel, et
        Case 2:21-cv-01248-ER         Document 24        Filed 02/01/22      Page 3 of 12




al., 18-CV-0176 (M.D. Pa.), Doc. 46-2 (hereafter, “Reid Settlement Agreement”), attached

hereto as Exhibit D.

       8.      Pursuant to the Reid Settlement Agreement, on December 3, 2019, DOC issued a

final policy statement reflecting the new conditions of the CCU. See DOC Policy No. 7.5.1,

“Administration of Specialized Inmate Housing,” dated of December 3, 2019 (hereafter “Final

CCU Policy”), attached hereto as Exhibit E.

       9.      Although the Final CCU Policy was issued on December 3, 2019, the Department

had already started instituting the changes outlined in the policy. See Ex. D, Reid Settlement

Agreement, ¶ (I)(E) (“The Parties acknowledge that the DOC and Defendants have implemented

and continue to implement improvements and that these improvements have been ongoing

through the litigation.”)

       10.     Officials at SCI-Greene began the planning process to institute the changes to the

CCU as early as January of 2018. See Ex. C, Zakian Decl. at ¶ 2-3.

       11.     SCI-Greene instituted the first wave of those changes on March 12, 2018,

allowing increased out-of-cell time (at least 20 hours per week) and significant socialization

opportunities for capital case inmates. See SCI-Greene Policy No. 6.5.8 GRN 01, effective date

of March 12, 2018 (hereafter, “Greene CCU Policy”), attached as Ex. 1 to Zakian Decl.

       12.     The March 12, 2018 changes provided significant improvements in socialization

opportunities and relaxed movement restrictions, as follows:

               a. Outdoor exercise increased from two hours five days per week, to two hours

                   seven days per week. The format of this outdoor exercise also changed

                   starting in June of 2018, from each inmate in a solitary enclosure to one open
        Case 2:21-cv-01248-ER           Document 24        Filed 02/01/22      Page 4 of 12




                    exercise area allowing group exercise, sports, and socialization. See Ex. C,

                    Zakian Decl. at ¶ 5(a).

               b. Dayroom activity, which was previously prohibited on the CCU, was offered

                    for at least one hour seven days per week, allowing inmates congregate at

                    tables for game playing, television watching, and other socializing. See Ex. C,

                    Zakian Decl. at ¶ 5(b).

               c. Law library visitations changed from each inmate sitting in a separate

                    enclosure to allowing up to four inmates from the same pod to congregate

                    together. See Ex. C, Zakian Decl. at ¶ 5(c).

               d. Meal time changed from each inmate being served their meal at their cell and

                    then eating alone in their cells, to meals being served outside of cells and

                    inmates allowed to eat together at the dayroom tables. See Ex. C, Zakian Decl.

                    at ¶ 5(d).

               e. Out-of-cell movements became less restrictive so that capital case inmates

                    were no longer required to be strip searched, wear restraints, or be escorted by

                    a two-to-one corrections officer ratio. See Ex. C, Zakian Decl. at ¶ 5(e).

       13.     Following the initial changes in March of 2018, SCI-Greene continued to

implement more changes to the CCU, such that presently the housing unit for capital case

inmates operates comparably to the general population housing units with respect to out-of-cell

time and socialization. See Ex. C, Zakian Decl. at ¶¶ 6-7.

       14.     Plaintiff acknowledges that though he continues to reside on the housing unit for

capital case inmates at SCI-Phoenix, the unit now has less restrictions. See Ex. A, Williams Dep.

Tr. at 9:10-9:16.
        Case 2:21-cv-01248-ER          Document 24         Filed 02/01/22       Page 5 of 12




       15.     Plaintiff was still at SCI-Greene when the restrictions on the CCU eased, but he

does not recall the time frame when that happened and refers to the date the Final CCU Policy

was issued on December 3, 2019. See Ex. A, Williams Dep. Tr. at 11:23-12:5.

       16.     Plaintiff is explicit that the claims in his lawsuit are limited to the conditions of

the CCU prior to the easing of the restrictions, which he believes occurred around when the Final

CCU Policy was issued. See Ex. A, Williams Dep. Tr. at 12:12-13:1.



Mental Health Care in the CCU and Plaintiff’s Mental Health Status

       17.     Plaintiff’s lawsuit does not challenge the prior “solitary confinement” conditions

of the CCU inandofitself, instead he brings an “as-applied” challenge, arguing that the

application of “solitary confinement” to himself violated the ADA, 8th and 14th Amendments,

due to his alleged mental disability. See Ex. A, Williams Dep. Tr. at 46:13-47:6; Compl. ¶¶ 19-

21, 24-27.

       18.     Every inmate who enters the Department is given a psychological evaluation that

includes testing and inmate interview, to screen for intellectual, personality, and emotional

stability. See DOC Policy No. 13.81., “Access to Mental Health Care,” dated March 2, 2015

(hereafter, “Mental Health Policy”), § (I)(A)(1), attached as Ex. 3 to Ex. C, Zakian Decl.

       19.     During this initial psychological evaluation, the Department flags any inmate who

scores 70 or below in an I.Q. test for additional assessment to rule out intellectual disability or

development disabilities. See Ex. C-3, Mental Health Policy, § (I)(A)(2)(c).

       20.     During this initial psychological evaluation, any inmate with evidence of mental

illness receives a more comprehensive assessment and a psychology staff member will create an
        Case 2:21-cv-01248-ER           Document 24         Filed 02/01/22    Page 6 of 12




individualized treatment plan for each inmate who has been diagnosed with a serious mental

illness. See Ex. C-3, Mental Health Policy, § (I)(A)(2)(d)(1).

       21.     The Department rates the mental health status of each inmate on a four-point

nominal scale system according to the following, see Ex. C-3, Mental Health Policy, §

(I)(B)(2)(g)(1):

               a. “A” Roster – inmate has no identified psychiatric or intellectual disability

                   needs or history of psychiatric treatment.

               b. “B” Roster – inmate has identified history of psychiatric treatment, but no

                   current need for psychiatric treatment; inmate is placed on inactive mental

                   health/intellectual disability roster.

               c. “C” Roster – inmate is currently receiving psychiatric treatment, but is not

                   currently diagnosed with a serious mental illness or functional impairment,

                   and does not have an intellectual disability.

               d. “D” Roster – inmate is currently diagnosed with a serious mental illness,

                   intellectual disability, credible functional impairment, or is guilty but mentally

                   ill. These inmates must have an individualized treatment/rehabilitation plan

                   created by the mental health staff.

       22.     Mental health roster status is subject to change based on reevaluations and

assessments of the psychiatric review team. § (I)(B)(2)(c)(2)(g)(2).

       23.     Prior to recent changes providing greater access to mental health care, psychology

staff visited all Security Level 5 housing units, including the CCU, five times per week to do

routine rounds along the unit that included an assessment with every inmate for suicide risk, and

to check on any inmate reporting mental health problems to staff. See Ex. A, Williams Dep. Tr.
        Case 2:21-cv-01248-ER           Document 24        Filed 02/01/22       Page 7 of 12




at 28:1-28:16. See also, Ex. C, Zakian Decl. at ¶ 8; Ex. C-3, Mental Health Policy, §

(I)(B)(2)(c)(2)(f).

        24.     All inmates on the A, B, and C Rosters are interviewed and assessed by

psychology staff on a monthly basis, and a written report is completed. See Ex. C-3, Mental

Health Policy, § (I)(B)(2)(c)(2)(f)(v)-(vi).

        25.     All inmates on the C Roster are additionally offered out-of-cell contacts with

mental health staff on the unit at least every ninety days. § (I)(B)(2)(c)(2)(f)(vi).

        26.     All capital case inmates were able to request an appointment to speak with a

mental health professional one-on-one. See Ex. A, Williams Dep. Tr. at 34:13-34:18. See also,

Ex. C, Zakian Decl. at ¶ 8.

        27.     Any capital case inmate with an active mental health diagnosis were scheduled for

treatment as required by the mental health professionals. See also, Ex. C, Zakian Decl. at ¶ 8.

        28.     Any capital case inmate who was observed by a staff member as showing signs of

mental decomposition to the point where the inmate might pose a risk to him/herself or others

was referred to the mental health department for evaluation. See Ex. C-1, Capital Case Policy.

        29.     During Plaintiff’s incarceration with the Department, Plaintiff has never received

a diagnosis of serious mental illness by a mental health professional. See Ex. A, Williams Dep.

Tr. at 36:13-36:16.

        30.     Plaintiff, while in custody at SCI-Graterford sometime before 1998, attempted to

commit suicide and was placed in a psychiatric observation cell (“POC”), during which time he

was monitored and evaluated by mental health professionals. See Ex. A, Williams Dep. Tr. at

24:19-25:6.
       Case 2:21-cv-01248-ER            Document 24        Filed 02/01/22      Page 8 of 12




       31.       On that occasion, Plaintiff was monitored in the POC for forty-eight to seventy-

two hours and was released after he told the doctors that he faked the suicide attempt to get out

of his cell to make a phone call. See Ex. A, Williams Dep. Tr. at 24:24-25:13.

       32.       Plaintiff wanted to leave the POC cell and was willing to tell the doctors anything

to get out, so he told them that there was nothing wrong with him. See Ex. A, Williams Dep. Tr.

at 25:14-25:24

       33.       After that incident he never sought mental health treatment again while at SCI-

Graterford, and just dealt with everything on his own. See Ex. A, Williams Dep. Tr. at 25:14-

25:24; 27:15-27:18.

       34.       At SCI-Greene, Plaintiff interacted with the mental health staff when they came to

his cell during their rounds, but he did not seek an appointment. See Ex. A, Williams Dep. Tr. at

28:14-28:16; 35:10-35:13.

       35.       During the times when Plaintiff interacted with the mental health staff on their

rounds, he always told them that he was feeling okay and never related any mental health

problems. See Ex. A, Williams Dep. Tr. at 35:14-35:18.

       36.       Plaintiff first had an out-of-cell appointment with the mental health staff at SCI-

Greene when he was referred to the mental health department following an incident in which he

suffered from a minor case of heat exhaustion and subsequently developed headaches. See Ex. A,

Williams Dep. Tr. at 28:17-29:2.

       37.       Thereafter, Plaintiff was seen by two separate mental health doctors a total of five

to six times. See Ex. A, Williams Dep. Tr. at 30:19-31:7.

       38.       Neither of these mental health doctors diagnosed Plaintiff with any mental health

issues. See Ex. A, Williams Dep. Tr. at 31:14-31:17.
        Case 2:21-cv-01248-ER           Document 24        Filed 02/01/22      Page 9 of 12




       39.       In all the time that Plaintiff was housed at SCI-Greene prior to the relaxing of

restrictions, Plaintiff never requested assistance from the mental health unit or expressed to any

Department staff member that he was having mental health issues. See Ex. A, Williams Dep. Tr.

at 35:19-36:4.

       40.       Before Plaintiff was incarcerated, he had some history of mental health treatment,

which began in April of 1979, when Plaintiff, at the age of fourteen, was involuntarily committed

to the Philadelphia Psychiatric Center (“PPC”) for approximately sixty days, due to suicidal

threats and violent and abusive behavior towards his mother and sister. See Ex. A, Williams Dep.

Tr. at 14:6-14:14. See also Philadelphia Psychiatric Center Discharge Summary, dated June 21,

1979 (hereafter, “PPC Discharge Summary”), Section titled “Presenting Problem on Admission

and History,” attached hereto as Exhibit F.

       41.       A psychological examination conducted on May 2 and May 8, 1979, during

Plaintiff’s involuntary commitment at PPC, revealed that Plaintiff’s “most striking problem” was

with the “control of his angry feelings, ” with a secondary area of difficulty in “the task of

masculine identification,” and a third problem area of “significant masked depression.” See PPC

Psychological Examination, dated May 2nd, 8th, 1979 (hereafter “PPC Psych Exam”), Section

titled “Emotional Function,” attached hereto as Exhibit G. See also, Ex. A, Williams Dep. Tr. at

14:17-15:2.

       42.       This Psychological Examination also concluded that Plaintiff had a full-scale I.Q.

score of 85, which placed him in the “dull-normal” range of intelligence. See id. at Section titled

“Intellectual Functioning.”
        Case 2:21-cv-01248-ER               Document 24           Filed 02/01/22          Page 10 of 12




         43.      Within three to six months after he was released from PPC from his involuntary

commitment, he returned to PPC and voluntarily admitted himself for ninety days. See Ex. A,

Williams Dep. Tr. at 21:6-22:5.

         44.      Around the same general time frame, Plaintiff attended family therapy sessions

for several months at an outpatient facility called “Friends.” See Ex. A, Williams Dep. Tr. at

17:23- 20:8.

         45.      In 1996, to support Plaintiff’s efforts to seek relief from his conviction under the

Post Conviction Relief Act (“PCRA”), Plaintiff’s counsel arranged for Plaintiff to be evaluated

by two mental health professionals outside of the Department. See Ex. A, Williams Dep. Tr. at

15:3-15:20.



Plaintiff’s Grievances

         46.      Plaintiff filed three grievances in connection with his complaints about the

condition of the Capital Case Housing Unit. See Declaration of Keri Moore, dated January 12,

2022, attached hereto as Exhibit F, ¶ 4. See also Ex. A, Williams Dep. Tr. at 47:20-49:121

(Plaintiff recalled filing two grievances).

         47.      On or about November 13, 2020, Plaintiff filed the first grievance, stating that he

has a mental disability that has been exacerbated due to the effects of prolonged isolation from

his time in the Capital Case Housing Unit. See Grievance No. 898857, attached as Ex. 1 to Ex. F,




1
 Plaintiff’s testimony recalled that he filed only two grievances. Although this is a discrepancy with DOC’s records,
DOC’s records are objective evidence, and the discrepancy is in Plaintiff’s favor.
        Case 2:21-cv-01248-ER                Document 24           Filed 02/01/22          Page 11 of 12




Moore Decl. See also Ex. A, Williams Dep. Tr. at 48:22-49:8 (Plaintiff recalled filing his first

grievance in December of 2020).2

         48.      On or about November 30, 2020, Plaintiff filed a second grievance, making the

same claims and adding information about his mental health. See Grievance No. 902000,

attached as Ex. 2 to Ex. F, Moore Decl.

         49.      On or about February 24, 2020, Plaintiff filed a third grievance relating to the

same claims and adding more information about his mental health. See Grievance No. 916331,

attached as Ex. 3 to Ex. F, Moore Decl.

         50.      DOC has a detailed inmate grievance process, which is governed by DOC policy

number DC-ADM 804, titled “Inmate Grievance System”. See Ex. F, Moore Decl. ¶ 2; DC-

ADM 804, attached hereto as Exhibit G.

         51.      Under DOC’s grievance policy, an inmate must file a grievance “within 15

working days after the event upon which the claim is based.” See Ex. G, DC-ADM 804 § 1.A.8.

         52.      Under the DOC’s grievance policy, following the inmate’s receipt of the initial

review response, the inmate may file an appeal within 15 working days to the Facility Manager.

See Ex. G, DC-ADM 804 § 2.A.1.

         53.      Under the DOC’s inmate grievance policy, following receipt of the Facility

Manager’s decision on the appeal, the inmate may file a final review appeal, within 15 working

days, to the Secretary’s Office of Inmate Grievances and Appeals (“SOIGA”). See Ex F, Moore

Decl. ¶ 2; Ex. G, DC-ADM 804§ 2.B.

         54.      Under the DOC’s inmate grievance policy, an inmate appealing a grievance to

final review “is responsible for providing the SOIGA with all required documentation relevant to

2
 Plaintiff’s testimony recalled that he filed the first grievance on December 21, 2020. Although this is a discrepancy
with DOC’s records, DOC’s records are objective evidence, and the discrepancy is in Plaintiff’s favor.
       Case 2:21-cv-01248-ER           Document 24        Filed 02/01/22      Page 12 of 12




the appeal,” which includes, inter alia, a copy of the inmate’s appeal to the Facility Manager. See

Ex. G, DC-ADM 804 § 2.B.j.

       55.     On or about February 17, 2021, the SOIGA issued a Final Appeal Decision

Dismissal notice with regards to Grievance No. 898857, which dismissed the grievance due to

Plaintiff’s failure to provide the Office with the required documentation pursuant to DC-ADM

804. See Grievance No. 898857, attached as Ex. 1 to Ex. F, Moore Decl.

       56.     On or about March 15, 2021, the SOIGA issued a Final Appeal Decision

Dismissal notice with regards to Grievance No. 902000, which dismissed the grievance due to

Plaintiff’s untimely filing of the grievance beyond the fifteen-day deadline set forth in DC-ADM

804. See Grievance No. 902000, attached as Ex. 2 to Ex. F, Moore Decl.

       57.     On or about April 20, 2021, the SOIGA issued a notice with regards to Grievance

No. 916331, which stated that the correspondence was filed without further action due to

Plaintiff’s failure to submit an appeal to final review or any indication of what action plaintiff

sought from SOIGA. See Grievance No. 916331, attached as Ex. 3 to Ex. F, Moore Decl.
